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            EXHIBIT 3
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                                                                     Enforcement and Removal Opera/ions
                                                                     Boston Field Office

                                                                     U.S. Department of Homeland Security
                                                                     1000 District Avenue
                                                                     Burlington, MA 01803


                                                                     U.S. Immigration
                                                                     and Customs
                                                                     Enforcement


c/o Bristol House of Corrections
Boston Field Office

             Notice to ,Alien of Interview for Review of Custody Status

        U.S. Immigration and Customs Enforcement (ICE) periodically reviews the custody
status of detained aliens who have final orders of removal. As required by statute and regulation,
you must cooperate with ICE in effecting your removal from the United States.

        Release from ICE custody is dependent on your demonstrating to the satisfaction of ICE
that you will not pose a danger to the community and will not present a flight risk. IfiCE has
determined that travel documents to effectuate your removal can be obtained or are forthcoming,
you will not be released unless removal is not practicable or is in the public interest.

        In determining whether you should be released at this time, ICE may consider, but is not
limited to considering the following:

   1. Criminal convictions and criminal conduct;
   2. Other criminal history and immigration history;
   3. Sentence(s) imposed and time actually served;
   4. History of escapes, failures to appear for judicial or other proceedings, and other defaults;
   5. Probation history;
   6. Disciplinary problems while incarcerated;
   7. Evidence of rehabilitative effort or recidivism;
   8. Equities in the United States;
   9. Cooperation in obtaining your travel document
   10. Any available mental health reports; and
   11 . The availability of travel documents to effectuate your removal.

       As part of this custody review, ICE is notifying you of its intent to schedule an interview
with you in approximately 30 days.

        You may be accompanied during the interview by a person of your choice, subject to
security concerns at the detention facility, as long as such person is able to attend the interview at
the scheduled time.



                                                                    www.ice.gov
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        You may submit any additional documentation you wish to be considered in support of
your release in person or via mail service prior to the time of your interview to the following
address.

         US. Department of Homeland Security
         1000 District Ave.
         Burlington, MA 01803
         ATTN: Detained Unit

       Such documentation should contain a cover letter indicating that the material is submitted
in support of your Post Order Custody Review personal interview. English translations of such
documentation must be provided pursuant to 8 C.F.R. § 103.2(b)(3). An attorney or other person
may submit materials on your behalf.

         You are required to complete the below information.

I do     / d o not          want a personal interview.

If you do want an interview, please check the appropriate box(es) below:

d'       I wish to have ICE conduct my interview as soon as possible and waive the 30-day time
         period provided before such interview.

D        Check this box if you need an interpreter for your interview.
         Language/Dialect: _ _ _ _ _ _ _ _ _ _ __ __

~        I will be assisted at this interview by a representative of my own choosing.

         Name of representative:          3U<sO.fl   P\'( CS 1 fSQ_ ·             .
         I understand I must notify this person of the time and pl~ofmy mterv1ew. The
         representative must be at least 18 years of age.                   -

D        I waive any representation.


        You will be interviewed for this purpose and you are sche~pear for this
interview on: 08/28/19                 at:     10:00 am     , at         ~
                   (Date)                  (Time)                (Location) v\ \bu nqto () HV-t
to discuss whether or not you will be recommended for release.                   '

You will be notified of the decision in your case when the custody review has been concluded.




                                                            Date:   <l} 15\2.0 Iq
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                                      PROOF OF SERVICE

(1)     Personal Service (Officer to complete both (a) and (b) below.)

        (a)       I __....                                                      DO
certify that I served ____

                                                                                      . to:LJ�
                                                                                           Time
                                                                                                AH
        (b)       I certify that I served the custodian _______________.
                                                                   Name of Official
______________,at _________________�on
              Title                                       Institution
________ with a copy of this document.
          Date

                                                  OR
(2)     Service by certified mail, return receipt. (Attach copy of receipt)

                  I                                                                           , certify
                             Name ofICE Officer                                  Title
that I served                                          and the custodian       ---------
                         Name of detainee                                       Name of Official
with a copy of this document by certified mail at                                        on ___
                                                                 Institution                   Date




Detainee Signature:




( ) cc: Attorney of Record or Designated Representative
( ) cc: A-File